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10   STEPHEN BEAL
11                             UNITED STATES DISTRICT COURT
12                         CENTRAL DISTRICT OF CALIFORNIA
13                                  SOUTHERN DIVISION
14
15   UNITED STATES OF AMERICA,                        Case No. SA CR 19-0047-JLS
16                Plaintiff,                          DEFENDANT’S REPLY IN
                                                      SUPPORT OF MOTION TO
17         v.                                         DISMISS COUNT 3 FOR FAILURE
                                                      TO STATE AN OFFENSE
18   STEPHEN BEAL,
                                                      Hearing Date: January 14, 2022
19                Defendant.                          Time: 1:30 p.m.
                                                      Time Estimate: 30 Minutes
20
21         Stephen Beal, by and through his counsel of record, Deputy Federal Public
22   Defender, Michael Schachter, hereby files this reply brief in support of his motion to
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24   ///
25   ///
26   ///
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1    dismiss Count 3 for failure to state an offense.
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3                                            Respectfully submitted,
4                                            CUAUHTEMOC ORTEGA
                                             Federal Public Defender
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6
     DATED: December 31, 2021            By /s/ Michael A. Schachter
7                                          Michael A. Schachter
8                                          Deputy Federal Public Defender
                                           Attorney for Stephen Beal
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1                                         REPLY BRIEF
2          It is undisputed that Count 3 fails to state an offense unless either Count 1 or
3    Count 2 alleges a crime of violence as a matter of law. Count 2 alleges a violation of
4    18 U.S.C. § 844(i). The government concedes in its opposition that it will not proceed
5    under a theory that § 844(i) is a crime of violence. Thus, Count 3 must be dismissed
6    unless Count 1 alleges a crime of violence.
7          Count 1 alleges a violation of 18 U.S.C. § 2332a(a)(2). The government
8    contends § 2332a(a)(2) is a crime of violence but all of its arguments flow from the
9    same faulty premise: the government insists that resulting death is an element of Count
10   1. But the plain language of § 2232a(a)(2) makes resulting death relevant only to
11   enhance the penalty to include death; otherwise, the maximum penalty remains any
12   term of years or life regardless of whether a death occurred. See Dkt. No. 292 at 3 n.2.
13   Beal is not facing the death penalty, so the resulting-in-death allegation in the
14   indictment is superfluous because that fact does not affect the penalty, and thus is not
15   an element. See Alleyne v. United States, 570 U.S. 99, 108, 113 (2013) (any fact that
16   increases the statutory minimum or maximum sentence is an “element” of the offense).
17         In an attempt to sidestep this reality, the government asserts that the categorical
18   approach does not turn on what charge and elements the defendant actually faces at
19   trial. See Dkt. No. 313 at 6-7. The government is mistaken, as its own cited case
20   makes clear. See id. (citing Mathis v. United States, 136 S. Ct. 2243). As Mathis
21   explains, “‘[e]lements’ are the constituent parts of a crime’s legal definition—the things
22   the prosecution must prove to sustain a conviction.” 136 S. Ct. at 2248 (internal
23   quotation marks omitted). “At a trial, they are what the jury must find beyond a
24   reasonable doubt to convict the defendant.” Id. (internal quotation marks omitted).
25   Here, because Beal is not facing the death penalty, the resulting-in-death allegation in
26   the indictment is superfluous and thus will not be an element in the jury instructions at
27   trial. The resulting-in-death allegation is not an element of the offense.
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1          As discussed in the motion, § 2332a(a)(2) is categorically not a crime of violence
2    as defined by 18 U.S.C. § 924(c)(3)(A) for multiple reasons. First and second, §
3    2332a(a)(2) is overbroad because it does not require the element of the use of force
4    “against any person or property of another” as required under § 924(c)(3)(A). See Dkt.
5    No. 292 at 3-5. Instead, where “property” is involved, a defendant can commit a §
6    2332a(a)(2) crime against his own property instead of the “property of another.” And
7    where a “person” is involved, a defendant can similarly commit a § 2332a(a)(2) crime
8    against himself, as in an unsuccessful attempt to commit suicide, instead of “against the
9    person . . . of another.” See id. The government’s argument that § 2332a(a)(2) is not
10   overbroad depends on its false assumption that the resulting-in-death allegation in the
11   indictment is an element of the offense. See Dkt. No. 313 at 6. But, as stated, it is not
12   an element, so § 2332a(a)(2) is overbroad.
13         Third, as also discussed in the motion, Dkt. No. 292 at 5, a § 2332a(a)(2) offense
14   does not necessarily involve the “physical force” required by § 924(c)(3)(A)—that is,
15   “force capable of causing physical pain or injury.” United States v. Dominguez, 954
16   F.3d 1251, 1258-59 (9th Cir. 2020). Once again, the government’s argument in
17   response depends on the resulting-in-death allegation being an element of the offense,
18   which it is not. Specifically, the government relies on United States v. Tsarnaev, where
19   the First Circuit held that a conspiracy to violate § 2332a(a)(2) was a crime of violence
20   given that the resulted-in-death element that made that defendant eligible for his death
21   sentence established the requisite level of violent physical force. 968 F.3d 24, 103-04
22   (1st Cir. 2020), cert. granted on other grounds, 141 S. Ct. 1683 (2021). Again, though,
23   Beal is not facing the death penalty, so a death is not an element of his purported §
24   2332a(a)(2) offense. Further, the First Circuit did not consider the separate and
25   independent grounds raised by Beal—that § 2332a(a)(2) is overbroad as compared to §
26   924(c)(3)(A) because a defendant can be convicted for using a destructive device
27   against his own property or his own person.
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1          Accordingly, for the reasons stated above and in the motion, neither § 844(i) nor
2    § 2332a(a)(2) is a crime of violence that can support a conviction under § 924(c).
3    Thus, the Court should dismiss Count 3.
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                                           Respectfully submitted,
5
                                           CUAUHTEMOC ORTEGA
6                                          Federal Public Defender
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8    DATED: December 31, 2021           By /s/ Michael A. Schachter
9                                         Michael A. Schachter
                                          Deputy Federal Public Defender
10                                        Attorney for Stephen Beal

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